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    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                        No. 14-1118V
                                   Filed: February 2, 2016

*************************                                  UNPUBLISHED
CORNELL YELLEN,                             *
                                            *              Special Master Hamilton-Fieldman
                      Petitioner,           *
                                            *
v.                                          *              Attorneys’ Fees and Costs;
                                            *              Reasonable Amount Requested to
SECRETARY OF HEALTH                         *              which Respondent Does Not Object.
AND HUMAN SERVICES,                         *
                                            *
                      Respondent.           *
*************************
Maximillian J. Muller, Muller Brazil LLP, Dresher, PA, for Petitioner.
Justine E. Walters, United States Department of Justice, Washington, DC, for Respondent.

                                           DECISION1

        On November 18, 2014, Cornell Yellen (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that an influenza (“flu”) vaccination administered on September 23, 2013
caused him to develop cervical dystonia, essential tremors, and narcolepsy. Petition (“Pet.”),
ECF No. 1, at 1-3. On August 13, 2015, Petitioner amended his Petition to allege only
narcolepsy as his vaccine-caused injury. See Amended Petition, ECF No. 20. On January 13,
2016, the undersigned issued a decision awarding compensation to Petitioner. Decision, ECF
No. 27.

1
 Because this unpublished decision contains a reasoned explanation for the action in this case,
the undersigned intends to post this decision on the United States Court of Federal Claims’
website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 and note (2006)). In accordance with
Vaccine Rule 18(b), a party has 14 days to identify and move to delete medical or other
information, that satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review,
the undersigned agrees that the identified material fits within the requirements of that provision,
such material will be deleted from public access.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
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       On February 2, 2016, the parties filed a Stipulation of Facts Concerning Attorneys’ Fees
and Costs. Pursuant to their Stipulation, the parties have agreed to an award of $30,727.56 in
attorneys’ fees and costs. In accordance with General Order Number 9, Petitioner’s counsel
represents that Petitioner did not incur any costs during this proceeding.

        The undersigned finds that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate, pursuant to
42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and
appropriate. Accordingly, the undersigned hereby awards the amount of $30,727.56, in the
form of a check made payable jointly to Petitioner and Petitioner’s counsel, Maximillian J.
Muller.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.




                                                2
